Case 2:O4-CV-02236-SHI\/|-STA Document 43 Filed 08/30/05 Page 1 of 2 Page|D 32

UNITED STATES DISTRICT COURT

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WESTERN DISTRICT OF TENNESSEE

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wILLIE L. GATEwooD,
Plaintiff,
v. Cv. No. 04-2236-Ma

OFFICER D.ANIEL MILLER, et al.,

Defendants.

JUDGMENT

Decision by Court. This action came for consideration before
the Court. The issues have been duly considered and a decision has
been rendered.

IT IS ORDERED AN'.D ADJ'UDGED that this action is dismissed with
prejudice, in accordance with the Order of Dismissal, docketed
August 26, 2005.

APPRO\W 0 w

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
case 2:04-CV-02236 Was distributed by faX, mail, or direct printing on
September 6, 2005 to the parties listed.

 

 

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